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                                                                                        U.S. DISTRICT COURT
                                                                                            N.D. OF ALABAMA


                       UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                             WESTERN DIVISION


    CANAL INSURANCE COMPANY,                  )
                                              )
           Plaintiff,                         )
                                              )
    vs.                                       )         7:18-cv-00212-LSC
                                              )
    MICHAEL BUTLER, et al.,                   )
                                              )
           Defendants.                        )


                               MEMORANDUM OF OPINION

           Before the Court is Plaintiff Canal Insurance Company’s (“Canal”)

motion for summary judgment. (Doc. 25.) The motion has been briefed and

is ripe for review. For the reasons stated below, Canal’s motion for summary

judgment (doc. 25) is due to be denied.


      I.     BACKGROUND 1



1 The facts set out in this opinion are gleaned from the parties’ submissions of facts
claimed to be undisputed, their respective responses to those submissions, and the
Court’s own examination of the evidentiary record. These are the “facts” for summary
judgment purposes only. They may not be the actual facts. See Cox v. Adm'r U.S. Steel
& Carnegie Pension Fund, 17 F.3d 1386, 1400 (11th Cir. 1994). The Court is not required
to identify unreferenced evidence supporting a party’s position. As such, review is limited
to exhibits and specific portions of the exhibits specifically cited by the parties. See
Chavez v. Sec’y, Fla. Dept. of Corr., 647 F.3d 1057, 1061 (11th Cir. 2011) (“[D]istrict court
judges are not required to ferret out delectable facts buried in a massive record . . . .”)
(internal quotations omitted).

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      This is a declaratory judgment action seeking a determination of the

parties’ respective rights and obligations under an insurance policy issued

by Canal to Defendant Alan Farmer Trucking, Inc. (“Alan Farmer”).

Defendant Sheridan Logistics, Inc. (“Sheridan”) is listed as an additional

insured in the policy. On September 14, 2017, Defendant Michael Butler

(“Butler”) filed an underlying state court action against Alan Farmer and

Sheridan. In the state court action, Butler alleges that he was injured while

working as an independent contractor transporting military vehicles for Alan

Farmer and Sheridan. Butler asserts that as he was unloading a tactical

vehicle from a trailer the vehicle flipped and injured him. Both Alan Farmer

and Sheridan dispute that Butler had any duty to unload the vehicle.

      Although the incident that forms the basis of the underlying state court

action occurred on January 9, 2017, it was not reported to Canal until

October 4, 2017, after Butler filed suit. Canal is providing a conditional

defense to Alan Farmer and Sheridan in the underlying action under a

complete reservation of rights. In the insurance policy at issue, Canal agreed

to defend Alan Farmer and Sheridan in the following provision:

     SECTION II – COVERED AUTOS LIABILITY COVERAGE

A. Coverage

      We will pay all sums an “insured” legally must pay as damages
      because of “bodily injury” or “property damage” to which this
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     insurance applies, caused by an “accident” and resulting from
     the ownership, maintenance or use of a covered “auto.”

     ....

     We have the right and duty to defend any “insured” against a
     “suit” asking for such damages or a “covered pollution cost or
     expense”. However, we have no duty to defend any “insured”
     against a “suit” seeking damages for “bodily injury” or “property
     damage” or a “covered pollution cost or expense” to which this
     insurance does not apply.

(See Doc. 1-2 at 33.)

     Canal’s insurance coverage is subject to an “injury to employee”

exclusion. This exclusion provides that the insurance coverage does not

apply to bodily injury to an employee of the insured arising out of the

employee’s employment with the insured or performance of “duties related

to the conduct of the ‘insured’s’ business.” (See id. at 34–35.) A separate

policy provision contains the following definition of the term employee:

“‘Employee” includes a ‘leased worker’. ‘Employee’ does not include a

‘temporary worker.’” (See id. at 42.) Canal’s insurance coverage is also

subject to the following condition precedent:

2.   Duties In The Event of Accident, Claim, Suit Or Loss

     We have no duty to provide coverage under this policy unless
     there has been full compliance with the following duties:

     a. In the event of “accident”, claim, “suit” or “loss”, you must give
     us or our authorized representative prompt notice of the
     “accident” or “loss”. Include:
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          (1) How, when and where the “accident” or “loss” occurred;

          (2) The “insured’s” name and address; and

          (3) To the extent possible, the names and addresses of any
          injured persons and witnesses.

(See id. at 39.) The parties disagree as to whether these provisions relieve

Canal of its duty to defend and to indemnify Alan Farmer and Sheridan in the

underlying litigation.

    II.     STANDARD

          Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact 2 and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is genuine if

“the record taken as a whole could lead a rational trier of fact to find for the

nonmoving party.” Id. A genuine dispute as to a material fact exists “if the

nonmoving party has produced evidence such that a reasonable factfinder

could return a verdict in its favor.” Greenberg v. BellSouth Telecomms., Inc.,

498 F.3d 1258, 1263 (11th Cir. 2007) (quoting Waddell v. Valley Forge

Dental Assocs., 276 F.3d 1275, 1279 (11th Cir. 2001)). The trial judge should

not weigh the evidence, but determine whether there are any genuine issues



2A material fact is one that “might affect the outcome of the case.” Urquilla-Diaz v.
Kaplan Univ., 780 F.3d 1039, 1049 (11th Cir. 2015).
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of fact that should be resolved at trial. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 249 (1986).

     In considering a motion for summary judgment, trial courts must give

deference to the non-moving party by “view[ing] the materials presented and

all factual inferences in the light most favorable to the nonmoving party.”

Animal Legal Def. Fund v. U.S. Dep’t of Agric., 789 F.3d 1206, 1213–14 (11th

Cir. 2015) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970)).

However, “unsubstantiated assertions alone are not enough to withstand a

motion for summary judgment.” Rollins v. TechSouth, Inc., 833 F.2d 1525,

1529 (11th Cir. 1987). Conclusory allegations and “mere scintilla of evidence

in support of the nonmoving party will not suffice to overcome a motion for

summary judgment.” Melton v. Abston, 841 F.3d 1207, 1220 (11th Cir. 2016)

(per curiam) (quoting Young v. City of Palm Bay, Fla., 358 F.3d 859, 860

(11th Cir. 2004)). In making a motion for summary judgment, “the moving

party has the burden of either negating an essential element of the

nonmoving party’s case or showing that there is no evidence to prove a fact

necessary to the nonmoving party’s case.” McGee v. Sentinel Offender

Servs., LLC, 719 F.3d 1236, 1242 (11th Cir. 2013). Although the trial courts

must use caution when granting motions for summary judgment, “[s]ummary

judgment procedure is properly regarded not as a disfavored procedural


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shortcut, but rather as an integral part of the Federal Rules as a whole.”

Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

   III.     DISCUSSION

          The parties agree that Alabama law applies to this case. Under

Alabama law, “[w]hen analyzing an insurance policy, a court gives words

used in the policy their common, everyday meaning and interprets them as

a reasonable person in the insured’s position would have understood them.”

State Farm Mut. Auto. Ins. Co. v. Brown, 26 So. 3d 1167, 1169 (Ala. 2009)

(internal citations and quotations omitted). In general, “policies of insurance

should be construed liberally in respect to persons insured and strictly with

respect to the insurer.” See Crossett v. St. Louis Fire & Marine Ins. Co., 269

So. 2d 869, 873 (Ala. 1972). However, this rule of construction should only

be resorted to if the terms of the insurance policy are truly ambiguous. See

Brown, 26 So. 3d 1167 at 1169.

          “Insurance contracts, like other contracts, are construed so as to give

effect to the intention of the parties, and, to determine this intent, a court

must . . . read each phrase in the context of all other provisions.” See Twin

City Fire Ins. Co. v. Alfa Mut. Ins. Co., 817 So. 2d 687, 691–92 (Ala. 2001)

(quoting Attorneys Ins. Mut. of Ala., Inc. v. Smith, Blocker, & Lowther, P.C.,

703 So. 2d 866, 870 (Ala. 1996)). “An insurance company’s duty to defend


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its insured is determined by the language of the insurance policy and by the

allegations in the complaint about the facts which gave rise to the cause of

action against the insured.” Am. States Ins. Co. v. Cooper, 518 So. 2d 708,

709 (Ala. 1987). “If the allegations of the injured party’s complaint show an

accident or an occurrence within the coverage of the policy, then the insurer

is obligated to defend, regardless of the ultimate liability of the insured.”

Hartford Cas. Ins. Co. v. Merchs. & Farmers Bank, 928 So. 2d 1006, 1009

(Ala. 2005). The insurer bears the burden of proving the applicability of a

policy exclusion. See Acceptance Ins. Co. v. Brown, 832 So. 2d 1, 12 (Ala.

2001).

      A.     Injury to Employee Exclusion

      The Canal policy does not cover bodily injury to an employee of the

insured arising out of: (1) his employment or (2) performance of duties

“related to the conduct of the ‘insured’s’ business.” (See Doc. 1-2 at 35.) This

exclusion applies “[w]hether the ‘insured’ may be liable as an employer or in

any other capacity.” (See id.) The Canal policy also excludes coverage for

bodily injury suffered by a fellow employee of the insured during the course

of his employment. (See id.)

      Canal contends that the definition of employee within these policy

exclusions must be construed according to federal regulations. The Canal


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policy is subject to Federal Motor Carrier Safety Act regulations, which state

that no motor carrier can operate a vehicle until it has obtained the required

level of insurance. See 49 C.F.R. § 387.7(a). This is evidenced by the

policy’s inclusion of the federally-mandated MCS-90 endorsement. (See

Doc. 1-2 at 51–58.) The applicable regulations define employee as:

      any individual, other than an employer, who is employed by an
      employer and who in the course of his or her employment directly
      affects commercial motor vehicle safety. Such term includes a
      driver of a commercial motor vehicle (including an independent
      contractor while in the course of operating a commercial motor
      vehicle), a mechanic, and a freight handler. Such term does not
      include an employee of the United States, any State, any political
      subdivision of a State, or any agency established under a
      compact between States and approved by the Congress of the
      United States who is acting within the course of such
      employment.

49 C.F.R. § 390.5. According to Canal, as the underlying state court

complaint identifies Butler as an independent contractor for Alan Farmer and

Sheridan, Butler is a “statutory employee” under the federal regulations and

the “injury to employee” exclusions apply to his claims.

      The Court disagrees with Canal’s contention that the “statutory

employee” definition should be read into the policy. The Canal policy already

includes a definition of employee. It states that “‘[e]mployee includes a

‘leased worker’. ‘Employee’ does not include a ‘temporary worker’.” (See




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Doc. 1-2 at 42.)3 This definition includes no reference to the federal

regulations and provides no indication that the parties intended to use the

“statutory employee” definition.

      The majority of courts to address this issue have concluded that the

federal “statutory employee” definition does not apply where the policy itself

supplies its own definition of employee. See, e.g., Gramercy Ins. Co. v.

Expeditor’s Express, Inc., 575 Fed. App’x 607, 608 (6th Cir. 2014) (reversing

judgment on the pleadings where insurance contract defined employee to

include a “leased worker”); Canal Indem. Co. v. Rapid Logisitics, Inc., 514

Fed. App’x 474, 477–78 (5th Cir. 2013) (distinguishing policy that included

“leased worker” definition of employee from prior Fifth Circuit case where

policy did not define the term employee); Great Western Casualty Company

v. National Casualty Company, 53 F. Supp. 3d 1154, 1186 (D. N.D. 2014)

(finding it significant that an insurance policy that already defined “employee”

made no attempt to incorporate the “statutory employee” definition);

Northland Ins. Co. v. Rhodes, Civil No. 09-cv-01691-REB-CBS, 2010 WL

5110107, at *7 (D. Colo. Dec. 9, 2010) (“the fact that the contract includes

such a definition suggests that, regardless of the overarching purpose of the


3 The policy goes on to define “leased worker” as “a person leased to you by a labor
leasing firm under an agreement between you and the labor leasing firm to perform duties
related to the conduct of your business.” (See Doc. 1-2 at 42.)
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contract, the parties did not specifically intend to incorporate the regulatory

definition of ‘employee’ into the policy.”). 4 These decisions comport with the

plain language of the MCS-90 endorsement, which states that “all terms,

conditions, and limitations in the policy to which the endorsement is attached

shall remain in full force and effect as binding between the insured and the

company.” (See Doc. 1-2 at 52.)

      The cases relied on by Canal say nothing to the contrary. In both

Progressive Mountain Insurance Company v. Madd Transportation, LLC,

633 Fed. App’x 744 (11th Cir. 2015), and Lancer Insurance Company v.

Newman Specialized Carriers, Inc., 903 F. Supp. 2d 1272 (N.D. Ala. 2012),

the courts did not consider whether the “statutory employee” definition

should be used where an insurance policy already included a definition of

employee. Instead, key to the Progressive Mountain holding was that “there

[was] no indication that the term ‘employee’ [was] used differently in the

[MCS-90] endorsement than in the employee exclusion.” See Progressive

Mountain, 633 Fed. App’x at 746. This distinction is important. The fact that

the Canal policy includes a definition of employee that does not reference




4The Court has only been able to locate one case where the federal “statutory employee”
definition was used when a policy contained an existing definition of the term “employee.”
See Miller v. Northland Ins. Co., No. M2013-00572-COA-R3-CV, 2014 WL 1715076, at
*4 (Tenn. Ct. App. Apr. 29, 2014).
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the federal motor carrier safety regulations provides an indication that they

were not meant to supply the policy’s definition of “employee.” If the Court

were to find that the federal “statutory employee” definition applied, it would

be upsetting the expectations of the parties, who contracted for a definition

of employee that did not include a reference to the federal regulations. As

the Court must interpret the policy so as to give effect to the parties’

intentions, it concludes that the federal “statutory employee” definition should

not be incorporated into the Canal policy’s “injury to employee” exclusions.

      Because the Court has determined that the federal “statutory

employee” definition does not apply to the Canal policy’s exclusions, the

Court need not determine whether Butler was acting as “an independent

contractor while in the course of operating a commercial motor vehicle.” 49

C.F.R. § 390.5. Instead, to determine whether the “injury to employee”

exclusion applies, the Court must look to both the policy’s definition of

employee and the common understanding of the term. Nothing in the

underlying state court complaint suggests that Butler was acting as a leased

worker. Moreover, in the underlying complaint, Butler identifies himself as

“an independent contractor retained by defendants Sheridan Logistics, Inc.

and/or Alan Farmer Trucking.” (See Doc. 1-1 at 3.) Canal refers to him as

such, and Sheridan identifies Butler as working as an independent contractor


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for it at the time of his injury. (See Doc. 30-2 at 3.) Applying the Canal policy

as written, and giving the term “employee” its “common, everyday meaning,”

Brown, 26 So. 3d 1167 at 1169, the Court finds that the term “employee” as

defined and used in the “injury to employee exclusion” does not include an

independent contractor like Butler. As such, the exclusions pointed to by

Canal do not preclude coverage. 5

      B.     Notification

      Canal also contends that it has no duty to defend or indemnify Alan

Farmer and Sheridan because it was not promptly notified of Butler’s

potential claims. The Canal policy provides that prompt notification is a

condition precedent to Canal’s duty to defend. Specifically, the policy states:

“[i]n the event of ‘accident’, claim, ‘suit’ or ‘loss’, you must give us or our

authorized representative prompt notice of the ‘accident’ or ‘loss’.” (See Doc.

1-2 at 39.) The policy further provides that Alan Farmer and Sheridan must

“[i]mmediately send . . . copies of any request, demand, order, notice,

summons or legal paper received concerning the claim or ‘suit’.” (See id.)

Under Alabama law, “prompt notice” is construed to require that notice “be




5 Alan Farmer disputes that Butler was working as its independent contractor or that Butler
had any contractual relationship with it. (See Doc. 30-2 at 3.) Given the Court’s
interpretation of the “injury to employee” exclusion, whether or not Butler was working for
Alan Farmer has no bearing on the outcome of this case.
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given within a reasonable time in view of all the facts and circumstances.”

See Travelers Indem. Co. of Conn. v. Miller, 86 So. 3d 338, 342 (Ala. 2011)

(citing St. Paul Fire & Marine Ins. Co. v. Elliott, 545 So. 2d 760 (Ala. 1989)).

To determine whether the reasonable notice requirement has been satisfied,

this Court must consider: (1) the length of the delay and (2) the existence of

a reasonable excuse for the delay. See S. Guar. Ins. Co. v. Thomas, 334 So.

2d 879, 883 (Ala. 1976).

      “Where facts are disputed or where conflicting inferences may

reasonably be drawn from the evidence, the question of the reasonableness

of a delay in giving notice is a question . . . for the [trier of fact].” Nationwide

Mut. Fire Ins. Co. v. Estate or Files, 10 So. 3d 533, 535 (Ala. 2008) (alteration

in original) (internal quotations and citations omitted). On the other hand, if

the “insured fails to show a reasonable excuse or the existence of

circumstances which would justify a protracted delay,” the notice provision

has been breached as a matter of law. See Thomas, 334 So. 2d 879 at 882–

83 (Ala. 1976).

      Canal does not dispute that Alan Farmer and Sheridan promptly

notified it of Butler’s claims once he filed suit on September 14, 2017.

Instead, it focuses its argument on the length of time between when Butler

sustained his injuries and when Canal was informed of the incident. Butler


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was injured on January 9, 2017, and Sheridan’s chief operating officer was

notified of the incident that same day. (See Doc. 29-2 at 2.) The parties agree

that Canal was first notified of the incident on October 4, 2017 (See Doc. 28

at 3.) Thus, the length of delay between the incident and Canal’s notification

was a little less than ten months. The Alabama Supreme Court has found

similar, unexcused delays to be unreasonable as a matter of law. See Pharr

v. Continental Cas. Co., 429 So. 2d 1018, 1019–20 (Ala. 1983) (holding that

eight-month delay between suit being filed and insurer being notified

constituted unreasonable delay); Thomas, 334 So. 2d 879 at 885

(concluding that six-month delay between accident occurring and insurer’s

notification was unreasonable); Correll v. Fireman’s Fund Ins. Co., 529 So.

2d 1006, 1009–10 (Ala. 1988) (affirming trial court decision that one-year

delay between amendment of complaint to include negligence claim and

notification to insurer was unreasonable). Accordingly, unless Alan Farmer

and Sheridan can present evidence of a reasonable excuse for the delay,

the approximately ten month delay in notification is unreasonable as a matter

of law.

      Delay may be excusable where the accident or occurrence would not

put a reasonable person on notice that a claim for damages may arise. See




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CIE Serv. Corp. v. Smith, 460 So. 2d 1244, 1246 (Ala. 1984). The Alabama

Supreme Court has stated:

      Generally, delay is excusable in the case of an accident which is
      trivial and results in no apparent harm or which furnishes no
      ground for [the] insured, acting as a reasonable and prudent
      man, to believe at the time that a claim for damages will arise or
      that the injury is one insured against. In such case notice is not
      required until some claim within the coverage of the policy has
      been presented or is reasonably to be anticipated, in which event
      the requirement as to notice is satisfied if notice is given within a
      reasonable time after the situation assumes an aspect
      suggestive of a possible claim for damages. Clearly, notice is
      necessary when there has been such an occurrence as would
      lead a reasonable and prudent man to believe that it might give
      rise to a claim for damages.

Pan Am. Fire & Cas. Co. v. Dekalb-Cherokee Cntys. Gas Dist., 266 So. 2d

763, 771 (Ala. 1972) (quoting 45 C.J.S. Insurance § 1056).

      Alan Farmer and Sheridan offer two excuses for the delay in notifying

Canal of Butler’s injuries: (1) prior to the filing of the underlying suit there was

no indication that any claim would be made against them and (2) that they

did not believe that Butler’s injuries were a result of an accident or loss within

the meaning of the policy. The Canal policy defines “accident” to include

“continuous or repeated exposure to the same conditions resulting in ‘bodily

injury’ or ‘property damage’.” (Id. at 41.) The Alabama Supreme Court has

interpreted “accident” in the insurance context to mean “[a]n unintended and

unforeseen injurious occurrence; something that does not occur in the usual


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course of events or that could not be reasonably anticipated.” Hartford Cas.

Ins. Co. v. Merch & Farmers Bank, 928 So. 2d 1006, 1011 (Ala. 2005)

(internal quotation marks omitted). In other words, an accident refers to

“something unforeseen, unexpected, or unusual.” Id. (internal quotation

marks omitted). The Court has no trouble concluding that a military vehicle

unexpectedly falling from a trailer and injuring Butler constitutes an accident

under Alabama law.

      However, even when an accident occurs, delayed notification is

excusable where a reasonably prudent person in the insured’s position

would have no reason “to believe . . . that a claim for damages [would] arise

or that the injury is one insured against.” Pan Am. Fire & Cas. Co., 266 So.

2d 771. Using this line of reasoning, Alan Farmer and Sheridan argue that

any delay in providing notice to Canal was reasonable under the

circumstances. Sheridan’s chief operating officer, Michael Farmer, testified

that while he knew about this incident on the date it occurred that he did not

believe there had been an “accident” under the Canal policy because the

military vehicle sustained only nominal damage and there was no damage

to any property owned by Alan Farmer or Sheridan. (See Doc. 29-2 at 2.)

Farmer also testified that he had no knowledge that Butler was contemplating




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bringing claims against Alan Farmer or Sheridan until the underlying lawsuit

was filed. (See id. at 3–4.)

      The Court cannot say, as a matter law, that the delay in providing Canal

with notice was unreasonable under the circumstances. Alan Farmer and

Sheridan apparently suffered little to no property damage from this incident.

Additionally, Canal has presented no evidence of when Alan Farmer and

Sheridan were informed that Butler sustained injuries. Indeed, there is no

evidence in the record of when Alan Farmer, the primary insured, was first

notified of the accident. Where the insured has no reason to believe an

accident will result in a legal claim for damages, there is no duty to notify the

insurer about the incident. To hold otherwise would, as Alan Farmer and

Sheridan argue, essentially impose a burden on the insured to provide its

insurance company with almost daily notice. Such a requirement is not

created by the Canal policy, and this Court does not find that, as a matter of

law, the ten month delay in notification was unreasonable.

      Canal also points to the fact that Sheridan was in contact with Butler’s

attorney as evidence that the delay in notification was unreasonable as a

matter of law. Canal states that the Alabama Supreme Court’s holding in

Thomas is instructive. In Thomas, two weeks after the insured was notified

that a cable he strung had injured a passerby, the injured party’s attorney


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informed the insured that he intended to bring suit. See Thomas, 334 So. 2d

879 at 881.The attorney’s letter specifically suggested that the insured notify

his homeowner insurance carrier of his client’s claims. Id. Despite receiving

this letter and repeated reminders from his own attorney to check into

whether his homeowner’s policy would cover the accident, the insured

waited approximately six months after the accident to notify his insurer of the

incident. See id.

      The court held that the insured’s subjective belief that suit would not

be filed was unreasonable and that he violated his insurance policy’s

notification requirement as a matter of law. See id. at 885. The court

reasoned that the plain language of the letter received by the insured clearly

indicated that claims would be brought against him. Id. at 884. As the court

noted, “[i]t was not the insured’s duty under the terms of the policy to

determine the probability of suit being filed; it was his duty to give the insurer

notice of any accident or occurrence and to forward to the insurer every

demand within a reasonable time.” Id. at 885.

      Here, it was not as evident that Butler would pursue claims against

Alan Farmer and Sheridan. It is undisputed that prior to filing suit an attorney

retained by Butler requested that Sheridan allow Butler to have an expert

inspect the trailer and power unit involved in the incident. However,


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according to Farmer’s affidavit, Butler’s attorney “never said or implied

anything to suggest that Butler would sue [Alan Farmer] or Sheridan.” (See

Doc. 29-2 at 3.) Thus, Farmer states that he believed that “any claim Butler

might have would be against the manufacturer of the trailer.” (See id.)

Reasonable minds could differ as to whether these communications with

Butler’s attorney should have put Alan Farmer and Sheridan on notice that

Butler might bring claims against them. Moreover, based on the evidence

before the Court, it is unclear when Butler’s attorney first contacted Sheridan.

Although Farmer’s affidavit states that it took several months to set up the

requested inspection, there is no evidence of the exact date Butler’s attorney

contacted Sheridan or when the inspection occurred. Without a more definite

timeline, the Court cannot make a decision as to whether the prompt

notification requirement was satisfied. Therefore, the Court is unwilling to

hold that the delay in notifying Canal was unreasonable as a matter of law.

    IV.     CONCLUSION

          For the reasons stated above, Canal’s motion for summary judgment

is due to be denied. 6 An order consistent with this opinion will be entered.


6 Alan Farmer and Sheridan ask the Court to enter summary judgment in their favor
pursuant to Federal Rule of Civil Procedure 56(f)(1). (See Doc. 29 at 9; Doc. 30 at 11.)
Rule 56(f)(1) allows the Court to “grant summary judgment for a nonmovant.” See Fed.
R. Civ. P. 56(f)(1). As explained above, genuine issues of material fact remain. Therefore,
Alan Farmer and Sheridan are not entitled to summary judgment being entered in their
favor.
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DONE and ORDERED on January 22, 2019.



                                _____________________________
                                        L. Scott Coogler
                                   United States District Judge
                                                                  194800




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